           Case 2:15-cv-00799-KJM-DB Document 336 Filed 01/05/24 Page 1 of 4


 1   Laura L. Ho (SBN 173179)
     lho@gbdhlegal.com
 2   Anne Bellows (SBN 293722)
     abellows@gbdhlegal.com
 3   Stephanie Tilden (SBN 341486)
     stilden@gbdhlegal.com
 4   GOLDSTEIN, BORGEN, DARDARIAN & HO
     155 Grand Avenue, Suite 900
 5   Oakland, CA 94612
     Tel: (510) 763-9800 ǀ Fax: (510) 835-1417
 6
     Andrew Wolff (SBN 195092)
 7   andrew@awolfflaw.com
     LAW OFFICES OF ANDREW WOLFF, PC
 8   1615 Broadway, 4th Floor
     Oakland, CA 94612
 9   Tel: (510) 834-3300 ǀ Fax: (510) 834-3377

10   Jesse Newmark (SBN 247488)
     jessenewmark@centrolegal.org
11   CENTRO LEGAL DE LA RAZA
     3022 International Blvd., Suite 410
12   Oakland, CA 94601
     Tel: (510) 437-1863 ǀ Fax: (510) 437-9164
13
     Jocelyn Larkin (SBN 110817)
14   jlarkin@impactfund.org
     Lindsay Nako (SBN 239090)
15   lnako@impactfund.org
     THE IMPACT FUND
16   2080 Addison Street, Suite 5
     Berkeley, CA 94704
17   Tel: (510) 845-3473 ǀ Fax: (510) 845-3654

18   Attorneys for Plaintiffs and Relators and the Certified Classes

19                                      UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF CALIFORNIA
20                                          SACRAMENTO DIVISION

21   UNITED STATES OF AMERICA, ex rel.                        Case No.: 2:15-CV-00799-KJM-DB
     DENIKA TERRY, ROY HUSKEY III, and
22   TAMERA LIVINGSTON, and each of them for                  CLASS ACTION
     themselves individually, and for all other persons
23   similarly situated and on behalf of the UNITED           STIPULATION AND ORDER SETTING
     STATES OF AMERICA                                        PRETRIAL CONFERENCE
24
                Plaintiffs/Relators,                          Before: Hon. Kimberley J. Mueller
25
     vs.                                                      Trial Date:   None Set
26
     WASATCH ADVANTAGE GROUP, LLC,
27   WASATCH PROPERTY MANAGEMENT, INC.,
     WASATCH POOL HOLDINGS, LLC,
28   CHESAPEAKE APARTMENT HOLDINGS, LLC,


                    STIPULATION AND ORDER SETTING PRETRIAL CONFERENCE - CASE NO. 2:15-CV-00799 KJM-DB
     890779.1
           Case 2:15-cv-00799-KJM-DB Document 336 Filed 01/05/24 Page 2 of 4


 1   LOGAN PARK APARTMENTS, LLC, LOGAN
     PARK APARTMENTS, LP, ASPEN PARK
 2   HOLDINGS, LLC, BELLWOOD JERRON
     HOLDINGS, LLC, BELLWOOD JERRON
 3   APARTMENTS, LP, BENT TREE
     APARTMENTS, LLC, CALIFORNIA PLACE
 4   APARTMENTS, LLC, CAMELOT LAKES
     HOLDINGS, LLC, CANYON CLUB HOLDINGS,
 5   LLC, COURTYARD AT CENTRAL PARK
     APARTMENTS, LLC, CREEKSIDE HOLDINGS,
 6   LTD, HAYWARD SENIOR APARTMENTS, LP,
     HERITAGE PARK APARTMENTS, LP, OAK
 7   VALLEY APARTMENTS, LLC, OAK VALLEY
     HOLDINGS, LP, PEPPERTREE APARTMENT
 8   HOLDINGS, LP, PIEDMONT APARTMENTS,
     LP, POINT NATOMAS APARTMENTS, LLC,
 9   POINT NATOMAS APARTMENTS, LP, RIVER
     OAKS HOLDINGS, LLC, SHADOW WAY
10   APARTMENTS, LP, SPRING VILLA
     APARTMENTS, LP, SUN VALLEY HOLDINGS,
11   LTD, VILLAGE GROVE APARTMENTS, LP,
     WASATCH QUAIL RUN GP, LLC, WASATCH
12   PREMIER PROPERTIES, LLC, WASATCH
     POOL HOLDINGS III, LLC,
13   and DOES 1-4,
14              Defendants.
15

16

17

18

19

20

21

22

23

24

25

26

27

28


                   STIPULATION AND ORDER SETTING PRETRIAL CONFERENCE - CASE NO. 2:15-CV-00799 KJM-DB
     890779.1
           Case 2:15-cv-00799-KJM-DB Document 336 Filed 01/05/24 Page 3 of 4


 1                 STIPULATION AND ORDER SETTING PRETRIAL CONFERENCE

 2              Plaintiffs and Relators Denika Terry, Roy Huskey III, and Tamera Livingston as court

 3   appointed representatives for the certified classes of California tenants and as relators for the United

 4   States and Defendants Wasatch Property Management, et al. (together, the Parties), by and through

 5   their undersigned counsel, stipulate as follows:

 6              WHEREAS, on December 8, 2023, the Court granted Plaintiffs request to set a Final Pretrial

 7   Conference and offered two dates for a Final Pretrial Conference: January 26, 2024 or February 16,

 8   2024 (ECF No. 332);

 9              WHEREAS, as of the motion hearing on December 8, 2023 , Defendants anticipated that

10   additional counsel may be joining the case to represent certain Defendant entities;

11              WHEREAS, following further consideration, Defendants have agreed that Joseph Salazar and

12   Ryan Matthews of Lewis Brisbois will serve as lead counsel for all Defendants at trial;

13              WHEREAS, lead counsel for Defendants are scheduled for trial in another case beginning on

14   January 16;

15              WHEREAS, after meeting and conferring, counsel for all Parties have determined that a Final

16   Pretrial Conference date of February 16, 2024, with a filing date for the Joint Pretrial Statement of

17   February 2, 2024, will afford the Parties the time needed to adequately meet and confer regarding

18   trial stipulations and other pretrial matters and to prepare their Joint Pretrial Statement;

19              THEREFORE, the Parties stipulate and jointly request that the Court order the following:

20                 1. The Final Pretrial Conference pursuant to Fed. R. Civ. P. 16(e) shall be set on

21                     February 16, 2024 at 10:00 a.m. in Courtroom 3 before Chief Judge Kimberly J.

22                     Mueller.

23                 2. The Parties shall file a Joint Pretrial Statement no later than February 2, 2024.

24

25

26

27

28

                                                          1
                   STIPULATION AND ORDER SETTING PRETRIAL CONFERENCE - CASE NO. 2:15-CV-00799 KJM-DB
     890779.1
           Case 2:15-cv-00799-KJM-DB Document 336 Filed 01/05/24 Page 4 of 4


 1   Dated: December 21, 2023                          Respectfully submitted,

 2                                                     GOLDSTEIN BORGEN DARDARIAN & HO

 3
                                                       /s/ Anne P. Bellows
 4                                                     Anne P. Bellows
 5                                                     Attorneys for Plaintiffs and Relators
                                                       and the Certified Classes
 6

 7   Dated: December 21, 2023                         Respectfully submitted,
 8                                                    LEWIS BRISBOIS BISGAARD & SMITH LLP
 9                                                    /s/ Ryan Matthews (as authorized 12/21/23)_____
                                                      Ryan Matthews
10
                                                      Attorneys for Defendants
11

12

13
                                 ORDER SETTING PRETRIAL CONFERENCE
14
                Good cause appearing, the Court hereby ORDERS the following:
15
                1. The Final Pretrial Conference set for January 26, 2024, ECF No. 332, is vacated and
16
                   continued to February 16, 2024, at 10:00 a.m. in Courtroom 3 before Chief Judge
17
                   Kimberly J. Mueller.
18
                2. The deadline for parties to file a Joint Pretrial Statement by January 12, 2024, is vacated
19
                   and continued to February 2, 2024.
20

21              IT IS SO ORDERED.
22   DATED: January 4, 2024.
23

24

25

26

27

28

                                                           2
                   STIPULATION AND ORDER SETTING PRETRIAL CONFERENCE - CASE NO. 2:15-CV-00799 KJM-DB
     890779.1
